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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CHASOM BROWN, et al.,                            Case No. 20-cv-03664-YGR (SVK)
                                   8                    Plaintiffs,                       ORDER RE PLAINTIFFS' REQUEST
                                                                                          FOR REIMBURSEMENT OF FEES
                                   9             v.                                       AND COSTS INCURRED FOR
                                                                                          MOTION FOR DISCOVERY
                                  10     GOOGLE LLC,                                      SANCTIONS
                                  11                    Defendant.                        Re: Dkt. No. 597

                                  12          Having received Plaintiffs’ request for reimbursement of fees and costs incurred in
Northern District of California
 United States District Court




                                  13   connection with their motion for discovery sanctions (Dkt. 597), the Court ORDERS as follows:

                                  14             1. By June 17, 2022, Plaintiffs must supplement their request with a breakdown, by

                                  15                  total hours and fees, among the following tasks associated with the sanctions

                                  16                  motion: (1) drafting all documents filed with the Court (including review of

                                  17                  Google’s opposition); (2) hearing preparation and participation; and (3) reviewing

                                  18                  Google document productions, as referenced in paragraph 4 of the Mao Declaration

                                  19                  (Dkt. 597-1).

                                  20             2. Google may file a response to Plaintiffs’ request for reimbursement, as

                                  21                  supplemented, not to exceed five pages (not including declarations) by July 1,
                                                      2022.
                                  22
                                              SO ORDERED.
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                                       Dated: June 7, 2022
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                                                                                                   SUSAN VAN KEULEN
                                  27                                                               United States Magistrate Judge

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